          Case 1:23-cr-00135-RP Document 129 Filed 09/04/24 Page 1 of 1



                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                          N DIVISION
                                     AUSTIN

United States of America                          §
                                                  §
vs.                                               §     NO: AU:23-CR-00135(1)-RP
                                                  §
 1 Saint Jovite Youngblood                        §

                       ORDER RESETTING SENTENCING

         IT IS HEREBY ORDERED that the above entitled and numbered case is Rreesseett for
Sentencing in Courtroom 4, on the Fifth Floor, United States Courthouse, 501 West Fifth Street,
Austin, TX , on Thursday, October 03, 2024 at 10:00 AM.(time change only)

        IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order to
counsel for defendant, the United States Attorney, United States Pretrial Services and the United
States Probation Office. Counsel for the defendant shall notify the defendant of this setting and,
if the defendant is on bond, advise the defendant to be present at this proceeding.

       Sentencing memorandums and motions are due to the court no later than 72 hours prior to
sentencing. Not following this may result in the hearing being reset.

                                    4th day of September, 2024.




                                                  Robert Pitman
                                                  UNITED STATES DISTRICT JUDGE
